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                         United States District Court
                          Middle District of Florida
                            Jacksonville Division

MATTHEW E. ORSO,

            Plaintiff,

v.                                                   No. 3:21-mc-42-BJD-PDB

ARISTON P. AWITAN,

            Defendant.



                       Order Granting Motions for
                    Issuance of Writ of Garnishment

       In 2017, the United States District Court for the Western District of
North Carolina entered judgment in favor of Kenneth Bell (a court-appointed
receiver) and against Ariston Awitan (a class defendant there and the
judgment debtor here) for $986,414.54 plus post-judgment interest. Docs. 1-1,
1-2.

       Matthew Orso (Bell’s successor, Doc. 1-3, and the judgment creditor
here) registered the judgment here, Doc. 1, and now moves for the issuance of
post-judgment writs of garnishment to Bank of America, N.A.; JP Morgan
Chase Bank, N.A.; PNC Bank, N.A.; TD Bank, N.A.; and Wells Fargo Bank,
N.A. (the garnishees here), each for $986,414.54. Docs. 2–6. Orso believes the
garnishees are or may be indebted to Awitan or have in their possession or
control personal property of Awitan sufficient to satisfy at least part of the
judgment. Doc. 2 ¶ 6; Doc. 3 ¶ 6; Doc. 4 ¶ 6; Doc. 5 ¶ 6; Doc. 6 ¶ 6. He asks the
Court to issue a writ of garnishment to each garnishee and require each
garnishee to answer the writ. Docs. 2-1, 3-1, 4-1, 5-1, 6-1.
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      “A money judgment is enforced by writ of execution, unless the court
directs    otherwise.”   Fed.   R.   Civ.       P.   69(a)(1).   “The   procedure   on
execution … must accord with the procedure of the state where the court is
located[.]” Id.

      Florida grants a right to a writ of garnishment to “[e]very person or
entity who … has recovered judgment in any court against any person or
entity.” Fla. Stat. § 77.01. The judgment creditor must file a motion “stating
the amount of the judgment.” Id. § 77.03. A writ of garnishment must state the
amount stated in the motion and “require the garnishee to serve an answer on
the plaintiff [(the judgment creditor)] within 20 days after service of the writ
stating”: (1) “whether the garnishee is indebted to the defendant [(the
judgment debtor)] at the time of the answer, or was indebted at the time of
service of the writ, plus up to 1 business day for the garnishee to act
expeditiously on the writ, or at any time between such times”; (2) “in what sum
and what tangible or intangible personal property of defendant the garnishee
has in [its] possession or control at the time of [its] answer, or had at the time
of the service of the writ, or at any time between such times”; and (3) “whether
the garnishee knows of any other person indebted to defendant, or who may
have any of the property of defendant in his or her possession or control.” Id.
§ 77.04.

      “[I]f the defendant is an individual, the clerk of court shall attach to the
writ” a “Notice to Defendant” with particular language. Id. § 77.041(1). The
plaintiff must mail, by first class, a copy of the writ, a copy of the motion, and,
if the defendant is an individual, the notice, “within 5 business days after the
writ is issued or 3 business days after the writ is served on the garnishee,
whichever is later.” Id. § 77.041(2).



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      Upon service of a writ of garnishment, the garnishee becomes “liable for
all debts [it owes] to defendant and for any tangible or intangible personal
property of defendant in the garnishee’s possession or control at the time of the
service of the writ or at any time between the service and the time of the
garnishee’s answer.” Id. § 77.06(1).

      Here, Orso is the trustee of the judgment against Awitan, Docs. 1, 1-1,
1-3, and, for each garnishee, has filed a motion stating the amount of the
judgment, Docs. 2–6. Orso also provides proposed writs. Docs. 2-1, 3-1, 4-1, 5-
1, 6-1. The Court modifies them to comply with Fla. Stat. § 77.04, modifies
language in the proposed notices to match the language in § 77.041(1), and
removes from the writs the paragraph advising the garnishees that “failure to
file an answer within the time required may result in the entry of judgment
against the garnishee[s] for the above total amount of $986,414.54, plus
interest, costs, and attorney’s fees,” Doc. 2-1 at 2; Doc. 3-1 at 2; Doc. 4-1 at 2;
Doc. 5-1 at 2; Doc. 6-1 at 2 (emphasis and capitalization omitted), because Orso
provides no authority for that language.

      Determining that issuance of the writs of garnishment is warranted, the
Court:

      1.    grants the motions for the issuance of post-judgment writs
            of garnishment to Bank of America, JP Morgan, PNC Bank,
            TD Bank, and Wells Fargo, Docs. 2–6; and

      2.    directs the clerk to issue the attached writs of garnishment
            and attach the notice to each writ.

      Ordered in Jacksonville, Florida, on September 23, 2021.




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Attachments:

(1)   Writ of Garnishment to Bank of America, N.A.
(2)   Writ of Garnishment to JP Morgan Chase Bank, N.A.
(3)   Writ of Garnishment to PNC Bank, N.A.
(4)   Writ of Garnishment to TD Bank, N.A.
(5)   Writ of Garnishment to Wells Fargo Bank, N.A.
(6)   Notice to Defendant of Right Against Garnishment of Wages, Money, and
      Other Property




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